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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE
__________________________________________
                                           )
DUCHESNAY, INC. and DUCHESNAY USA          )
INC.,                                     )
                                           )
      Plaintiffs,                         )  C.A No. 15-00385-SLR
                                           )
v.                                         )
                                           )
MYLAN PHARMACEUTICALS INC.,                )
                                           )
                                           )
      Defendant.                           )
_________________________________________ )

                   MOTION AND ORDER FOR ADMISSION PRO HAC VICE

          Pursuant to Local Rule 83.5 and the attached certification, counsel moves for the admission

pro hac vice of Christine Inyoung Nam to represent Defendant Mylan Pharmaceuticals Inc. in this

matter.


Dated: August 26, 2015

                                                      /s/ Mary B. Matterer
                                                   Mary B. Matterer (I.D. #2696)
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                                                   Attorneys for Defendant
                                                   Mylan Pharmaceuticals Inc.


                                  ORDER GRANTING MOTION

   IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.


   Date: ________________                             _______________________________
                                                      United States District Court Judge
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